


  ORDER
 

  A majority of the Judges of this Court in regular active service have voted for rehearing of this case en banc. Sixth Circuit Rule 14 provides as follows:
 

  The effect of the granting of a hearing en banc shall be to vacate the previous opinion and judgment of this court, to stay the mandate and to restore the ease on the docket sheet as a pending appeal.
 

  Accordingly, it is ORDERED, that the previous decision and judgment of this court are vacated, the mandate is stayed and the ease is restored to the docket as a pending appeal.
 

  It is further ORDERED that the appellant file a supplemental brief not later than Friday, August 22, 1997, and the appellee file a supplemental brief not later than Monday, September 22,1997. The Clerk will schedule this case for argument as directed by the court.
 
